On October 3, 1961, the defendant, in a trial to the court, was found guilty of the crime of reckless driving. The defendant's appeal and request for a finding were filed October 17, 1961. The court's finding was filed January 4, 1962. The defendant has taken no further action, and on March 27, 1962, a motion to dismiss was filed for failure to prosecute the appeal with proper diligence.
Because so much time has elapsed since the terminal date for filing the assignment of errors (see Cir. Ct. Rule 7.27.1) and because no reason appears why the defendant should be permitted further to pursue his appeal, the motion to dismiss is granted.
   The appeal is dismissed.
KINMONTH, JACOBS and GEORGE, Js., participated in this decision.